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                               UNITED STATES DISTRICT COURT

                               EASTERN DISTRICT OF MICHIGAN




United States of America,                           CASE NO. 2:21-cr-20256-LVP-DRG-1

                    Plaintiff,                      Judge: Honorable Linda V. Parker



Yihou Han,

                    Defendant.



            DECLARATION OF MARCIA VALADEZ VALENTE
       IN SUPPORT OF YIHOU HAN’S SENTENCING MEMORANDUM



          I, Marcia Valadez Valente, declare as follows:

          1.        I am an attorney duly admitted to practice before this Court. I am a

partner of Coblentz Patch Duffy & Bass LLP, attorneys of record for Defendant,

Yihou Han. I have personal knowledge of the facts set forth herein, except as to

those stated on information and belief and, as to those, I am informed and believe


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them to be true. If called as a witness, I could and would competently testify to the

matters stated herein.

          2.        Exhibit A is a true and correct copy of a collection of letters

addressed to the Court submitted in support of Ms. Han. (An unredacted version is

being filed under seal.)

          3.        Exhibit B is a true and correct copy of a letter written by Yihou Han.

(An unredacted version is being filed under seal.)

          4.        Exhibit C is a true and correct copy of the article Coercion in

Intimate Partner Violence: Toward a New Conceptualization, by Mary Ann Dutton

and Lisa A. Goodman, published in Sex Roles, Vol. 52, Nos. 11/12, June 2005.

          5.        Exhibit D is a true and correct copy of the article Coercive control in

intimate partner violence, by L. Kevin Hamberger, Sadie E. Larsen, and Amy

Lehrner, published in Aggression and Violent Behavior 37 (2017) 1–11.

          6.        Exhibit E is a true and correct copy of the article Silenced Suffering:

The Need for a Better Understanding of Partner Sexual Violence, by T. K. Logan,

Robert Walker, and Jennifer Cole, published in TRAUMA, VIOLENCE, &

ABUSE 2015, Vol. 16(2) 111–135.

          7.        Exhibit F is a true and correct copy of the article A Mixed-Methods

Examination of Sexual Coercion and Degradation Among Women in Violent

Relationships Who Do and Do Not Report Forced Sex, by TK Logan, PhD,

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Jennifer Cole, MSW, and Lisa Shannon, PhD, published in Violence and Victims,

Volume 22, Number 1, 2007.

          8.        Exhibit G is a true and correct copy of the article Directness,

Hierarchy and Social Roles in Chinese Culture, by Aris Teon, published in The

Greater China Journal, March 9, 2017.

          9.        Exhibit H is a true and correct copy of the article For American

Workers in China, a Culture Clash, by Hannah Seligson, published in the New

York Times, December 23, 2009.

          10.       Exhibit I is a true and correct copy of the Department of Treasury’s

Office of Comptroller of the Currency’s (“OCC”) order of prohibition and civil

monetary penalty against Scott Seligman, dated March 25, 2024.

          11.       Exhibit J is a true and correct copy of the OCC’s order of prohibition

and civil monetary penalty against Gary Judd, dated March 19, 2024.

          12.       Exhibit K is a true and correct copy of the OCC’s order of prohibition

and civil monetary penalty against Thomas Lopp, dated February 12, 2024.

          13.       Exhibit L is a true and correct copy of the OCC’s order of prohibition

and civil monetary penalty against Michael Montemayor, dated February 15, 2024.

          14.       Exhibit M is a true and correct copy of the OCC’s order of

prohibition and civil monetary penalty against Stephen Adams, dated

February 2, 2024.

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          15.       Exhibit N is a true and correct copy of the OCC’s order to cease and

desist against Colleen Kimmel, dated February 7, 2024.

          16.       Exhibit O is a true and correct copy of the OCC’s order to cease and

desist against Jonathan Kolk, dated January 29, 2024.

          17.       Exhibit P is a true and correct copy of the OCC’s order of prohibition

against Yihou Han, dated October 4, 2022.

          18.       Exhibit Q is a true and correct copy of the article Prisons Do Not

Reduce Recidivism: The High Cost of Ignoring Science, by Francis T. Cullen,

Cheryl Lero Jonson, and Daniel S. Nagin, published in The Prison Journal,

Supplement to 91(3) 48S–65S, SAGE Publications (2011).

          19.       Exhibit R is a true and correct copy of the Federal Housing Finance

Agency’s final suspension order against Yihou Han, dated February 5, 2024.

          20.       Exhibit S is a true and correct copy of the article Imprisoning White-

Collar Criminals, by Elizabeth Szockyj, 23 S. Ill. Univ. L. J. 485, 493 (1999).

          21.       Exhibit T is a true and correct copy of the United States Sentencing

Commission 2023 Sourcebook of Federal Sentencing Statistics, Table 30.

          22.       Exhibit U is a true and correct copy of the United States Sentencing

Commission Statistical Information Packet for Fiscal Year 2023 for the Eastern

District of Michigan.



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          23.       Exhibit V-1 and V-2 are true and correct copies of a screen capture of

results of the United States Sentencing Commission’s Interactive Data Analyzer

titled “Sentence Imposed Relative to the Guideline Range Over Time” for fiscal

years 2015-2023. Based on the filters used, this data reflects the Sentencing

Commission’s data for the Eastern District of Michigan where the primary

guideline was § 2B1.1. Exhibit V-1 includes all criminal history categories, while

Exhibit V-2 includes only criminal history category I.

          24.       Exhibit W is a true and correct copy of a screen capture of results of

the United States Sentencing Commission’s Interactive Data Analyzer titled

“Average and Median Sentence Length” and “Average and Median Imprisonment

Length” for fiscal years 2015–2023. Based on the filters used, this data reflects the

Sentencing Commission’s data for the Eastern District of Michigan where the

primary guideline was § 2B1.1, the sentencing zone was Zone D, and the criminal

history category was I.

          25.       Exhibit X is a true and correct copy of a screen capture of results of

the United States Sentencing Commission’s Interactive Data Analyzer titled

“Average and Median Sentence Length” and “Average and Median Imprisonment

Length” for fiscal years 2015–2023. Based on the filters used, this data reflects the

Sentencing Commission’s data for cases nationwide where the primary guideline



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was § 2B1.1, the sentencing zone was Zone D, and the criminal history category

was I.

          I declare under penalty of perjury under the laws of the United States of

America that the foregoing is true and correct.

          Executed on August 13, 2024, at San Francisco, California.




                                                  Marcia Valadez Valente

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                                                  Yihou Han




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